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                                                               Monday, 15 January, 2018 02:43:41 PM
                                                                       Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                    MOTION TO SUPPRESS STATEMENTS ALLEGEDLY
                         MADE TO CELLHOUSE INFORMANT

       Defendant Brendt A. Christensen, by and through his attorneys, and pursuant to

Rule 12(b)(3)(C), Fed.R.Crim.P., moves this Court for the entry of an Order suppressing

all statements, whether written or oral, and whether inculpatory or exculpatory, which

are alleged to have been made by the Defendant to an individual identified herein as

“the Confidential Source,” an inmate who was confined with the Defendant in the

protective custody unit at the Macon County Jail in Decatur, Illinois, and in support

thereof states as follows:

                                   Factual Background

       On June 30, 2017, the Defendant was arrested by officers and agents of the

Federal Bureau of Investigation on a criminal complaint charging him with the offense

of kidnapping in violation of Title 18 U.S.C. § 1201. (R. 1) On July 3, 2017, Attorney Evan

Bruno of Urbana, Illinois, filed his appearance as Defendant’s privately retained defense


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counsel. (R. 4) On that same date, Defendant appeared with his counsel for an initial

appearance before United States Magistrate Judge Eric I. Long at which Defendant was

advised of the charges, a preliminary hearing was set for July 14, 2017, and a detention

hearing was set for July 5, 2017. Defendant was ordered detained pending further

hearings. (Docket Entry 07/03/2017) On July 5, 2017, following a detention hearing and

arguments of counsel, Magistrate Judge Long ordered the Defendant detained pending

further proceedings. (R. 11)

       On July 12, 2017, the grand jury returned an indictment against the Defendant

charging him with the offense of kidnapping in violation of Title 18 U.S.C. § 1201. (R.

13) The Defendant appeared before Magistrate Judge Long for arraignment on July 20,

2017, at which time Defendant entered a plea of not guilty, and trial was scheduled for

September 12, 2017. (R. 16)

       From approximately July 3, 2017, through September 6, 2017, and for some time

thereafter, the Defendant was confined in the protective custody unit of the Macon

County Jail in Decatur, Illinois. During a portion of this time period, believed to be

during July and August of 2017, Defendant was confined in a one man cell adjacent to a

cell occupied by another inmate referred to herein as the Confidential Source (CS), who

was facing serious felony criminal charges in Macon County Circuit Court. As

protective custody detainees, both Defendant and the CS were given one hour per day

outside their cells during which time they would converse with one another, and the CS



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would deliberately ask Defendant about his pending federal case and elicit statements

from the Defendant about it.

       Upon information and belief, the CS was no stranger to the criminal justice

system in Macon County. His adult criminal history included seven prior felony drug

convictions from Macon County and two other jurisdictions, one prior residential

burglary conviction in Macon County for which he received a twelve year term of

imprisonment in the Illinois Department of Corrections, and two prior felony theft

convictions in Macon County. All ten of his prior felony convictions resulted in terms of

imprisonment being imposed.

       Upon information and belief, at the time that the CS and Defendant were

confined in adjoining cells at the Macon County Jail, the CS was, and still is, a

documented confidential source working under the supervision, direction and control

of the Decatur Police Department, the Macon County Sheriff’s Department, the Illinois

State Police, and/or the Federal Bureau of Investigation. Further, upon information and

belief, the CS was assigned to and placed in the cell unit adjoining the Defendants’ cell

by federal and/or state and/or local law enforcement officers and agents for the

purpose of his engaging Defendant in conversations concerning Defendant’s pending

federal case, and for reporting any information obtained from the Defendant to said law

enforcement officers and agents for use as evidence against the Defendant.1


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 Defense counsel has served discovery requests to Government counsel pursuant to Brady v.
Md., 373 U.S. 83 (1963) and Giglio v. U.S., 405 U.S. 150 (1972) for all documents, reports, notes,
and memoranda concerning the CS and his role as a government confidential source/informant
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       As a result of the many conversations that the CS actively engaged in with the

Defendant while both were confined in the protective custody unit of the Macon

County Jail, the Defendant is alleged to have made various statements to the CS which

he then reported to FBI/TFOs Barbara Robbins and Trevor Stalets, and FBI Special

Agent Anthony Manganaro, and which the Government will seek to use as evidence

against him. This is improper because the statements which Defendant allegedly made

to the CS while confined in the protective custody unit at the Macon County Jail were

obtained in violation of the Defendant’s rights secured under the Fifth and Sixth

Amendments to the United States Constitution.

                                            Argument

       Any statement made to the CS by the Defendant after he invoked his right to
       counsel violates the Defendant’s Fifth and Sixth Amendment rights and
       should be suppressed.

       In Massiah v. United States, 377 U.S. 201, 84 S.Ct. 1199, 12 L.Ed.2d 246 (1964), the

United States Supreme Court held that post- indictment questioning of a defendant by

government agents in the absence of the defendant's counsel constitutes a violation of

the defendant's right to counsel as guaranteed by the Sixth Amendment to the United

States Constitution and mandates suppression of any incriminating statement that the

defendant allegedly made.

       In United States v. Henry, 447 U.S. 264, 100 S.Ct. 2183, 65 L.Ed.2d 115 (1980), the

Supreme Court held that the defendant's Sixth Amendment right to counsel was

in this case. As of the date of the filing of this motion, answers to those requests remain
outstanding.
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violated by the admission at trial of incriminating statements made by the defendant to

his cellmate, an undisclosed government informant, after indictment and while in

custody. In Henry, after the defendant was indicted and confined in jail, a government

agent asked a paid informant, who was confined in the same cellblock, to "be alert" to

any statements made by the defendant. The informant was also told not to initiate any

conversation with or question the defendant. At trial, the informant testified as to

certain incriminating statements made to him in the jail by the defendant.

       The Supreme Court held that the defendant's statements made to the cellhouse

informant were obtained in violation of the defendant's right to counsel, and were

barred under Massiah v. United States, supra, where the Court previously ruled that the

Sixth Amendment prohibits law enforcement officers from deliberately eliciting post-

indictment statements from an accused in the absence of counsel. In holding that the

government agent/cellhouse informant "deliberately elicited" statements from the

defendant, the Supreme Court found three factors to be important: 1) the informant was

acting under instructions as a paid informant for the government; 2) the informant was

ostensibly no more than a fellow inmate of the defendant; and 3) the defendant was in

custody and under indictment at the time he made the statements. 447 U.S. at 270, 100

S.Ct. at 2186.

       Significantly, in the Court's view, the fact that the informant was told not to

initiate any conversation with the defendant was not critical. As the Court stated:



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              Even if the agent's statement is accepted that he did not
              intend that the informer would take affirmative steps to
              secure incriminating information, he must have known that
              such propinquity likely would lead to that result …. By
              intentionally creating a situation likely to induce the
              defendant to make incriminating statements without the
              assistance of counsel, the government violated the
              defendant's Sixth Amendment right to counsel. This is not a
              case where...the constable blundered ... rather, it is one
              where the constable planned an impermissible interference
              with the right to the assistance of counsel.

447 U.S. at 271, 275 100 S.Ct. at 2187, 2189.

       Finally, with respect to the issue of waiver, the Court held that the defendant

could not and did not waive his right to counsel under such circumstances. “The

concept of a knowing and voluntary waiver of Sixth Amendment rights does not apply

in the context of communications with an undisclosed undercover informant acting for

the government.” Id., 447 U.S. at 273, 100 S.Ct. at 2188.

       Moreover, in other cellhouse informant cases, reviewing courts have found Sixth

Amendment violations under similar circumstances. United States v. O’Dell, 73 F.3d 364,

1995 WL 765231 (7th Cir. 1995)(6th Amendment violation where defendant’s fellow

inmate at county jail was confidential source working for the Illinois State Police and

deliberately elicited information from defendant about defendant’s federal case); United

States v. Bender, 221 F.3d 265, 268-69 (1st Cir. 2000) (6th Amendment violation when

undercover government agent initiated conversation with defendant about different,

unrelated crimes because state must have known its agent was likely to obtain

incriminating statements from accused); United States v. Lentz, 524 F.3d 501, 521 (4th Cir.

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2008) (6th Amendment violation when government advised informant to obtain specific

information); Ayers v. Hudson, 623 F.3d 301, 315-17 (6th Cir. 2010) (6th Amendment

violation when state returned jailhouse informant to defendant's jail pod to deliberately

elicit incriminating statements from him); Manning v. Bowersox, 310 F.3d 571, 576 (8th

Cir. 2002) (6th Amendment violation when government planted informants in jail cell to

elicit incriminating information from charged defendant because government

“deliberately created a circumstance ripe for its agents to elicit incriminating statements

from [defendant]”); Randolph v. California, 380 F.3d 1133, 1146-47 (9th Cir. 2004) (6th

Amendment violation when police placed paid informant in defendant's jail cell for

purpose of obtaining statements).

       In this case, Defendant’s Sixth Amendment right to counsel attached at or after

the initiation of adversary criminal proceedings against him by the Government’s filing

of the criminal complaint on June 30, 2017, (R. 1), and the Defendant’s initial appearance

with his privately retained counsel before the Magistrate Judge on July 3, 2017. (R. 4,

07/03/2017). Kirby v. Illinois, 406 U.S. 682, 689-90 (1972)(right to counsel attaches at the

initiation of judicial criminal proceedings); Thompkins v. Pfister, 698 F.3d 976, 984 (7th

Cir. 2012)(right to counsel attached at bond hearing the day after defendant’s arrest).

From that point on, Defendant was “off limits” under the Sixth Amendment to all

attempts by government agents to deliberately elicit incriminating information from

him outside the presence of his counsel. Massiah v. United States, supra.



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       Further, it was no coincidence that such an opportunistic career criminal as the

CS was assigned to a cell adjacent to Defendant in the protective custody unit at the

Macon County Jail during July, 2017, and that he would take up such a strong interest

in the Defendant’s pending federal case. Upon information and belief, the CS was and

still is a documented confidential source working under the supervision, direction, and

control of his law enforcement principals, and that he was strategically placed in the cell

adjacent to Defendant’s to deliberately elicit incriminating information from the

Defendant and report it to the authorities in exchange for a lenient disposition of his

own serious criminal charges and whatever other consideration he and lawyer have

bargained for.

       Based upon the controlling legal authorities cited herein, and the evidence to be

adduced at the hearing on this motion, this Court should find that all the statements

which Defendant allegedly made to the CS while confined in the protective custody

unit at the Macon County Jail were obtained in violation of the Defendant’s rights

secured under the Fifth and Sixth Amendments to the United States Constitution, and

the Supreme Court’s ruling in Massiah v. United States, 377 U.S. 201, 84 S.Ct. 1199, 12

L.Ed.2d 246 (1964).

       WHEREFORE, Defendant requests the entry of an Order suppressing all

statements, whether written or oral, and whether inculpatory or exculpatory, which are

alleged to have been made by the Defendant to an individual identified herein as the

Confidential Source.

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                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the filing: Mr. Bryan David Freres and Mr. Eugene Miller, Assistant United

States Attorneys, 201 South Vine Street, Urbana, IL 61801. A copy was also mailed to the

Defendant.

                                         /s/Elisabeth R. Pollock
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